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                                 UNITED STATES DISTRICT COURT

                                          DISTRICT OF IDAHO

UNITED STATES OF AMERICA                                      Case No.: CR18-258-S-EJL
     Plaintiff
 vs                                                           DEFENDANT MIKHAIL
                                                              IYERUSALIMETS’ JOINT
MIKHAIL IYERUSALIMETS, et. al,                                MOTION TO EXCLUDE
                                                              EXPERT TESTIMONY
         Defendant.


        The defendant, Mikhail Iyerusalimets, by and through his attorney of record, Ellen

Smith, moves to exclude the government’s expert witnesses related to Customs and Border

Protection (“CBP”) including Alan Aprea, Eugene Matho and Brian Giese.1

        This based upon the following Memorandum of Points and Authorities and the pleadings

and papers on file herein.

                         MEMORANDUM OF POINTS OF AUTHORITIES

                                           I.       BACKGROUND
        The Government filed its Notice of Intent to Introduce Expert Testimony Regarding
Customs and Border Protection (“Notice”) on January 2, 2020. See Docket No. 340. Included
in said Notice was the Government’s disclosure that it intended to call Customs and Border
Protection (“CBP”) witnesses including Mr. Alan Aprea, Mr. Eugene Matho and Mr. Brian


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 This joint motion is on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr Babichenko, Timofey
Babichenko, Kristina Babichenko, Natalie Babichenko, David Bibikov, Anna Iyerusalimets, and Mikhail
Iyerusalimets.

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Giese. Id. There was very little disclosed related to these witnesses in said Notice. In addition,
the government provided no additional information or documentation by the recent Expert
Disclosure deadline of October 1, 2020.
                                      II.      LEGAL STANDARD

       Under Rule 16, “the government must give to the defendant a written summary of any
expert testimony that the government intends to use . . . during its case-in-chief at trial.” Fed. R.
Crim. P. 16(a)(1)(G). “The summary provided under this subparagraph must describe the
witness’s opinions, the bases and reasons for those opinions, and the witness’s qualifications.”
Id. “The Rule requires a summary of the expected testimony, not a list of topics.” United States
v. Duvall, 272 F.3d 825, 828 (7th Cir. 2001). In addition, the Advisory Committee notes explain
that this rule is “intended to minimize surprise that often results from unexpected expert
testimony, reduce the need for continuances, and to provide the opponent with a fair opportunity
to test the merit of the expert’s testimony through focused cross-examination.” Fed. R. Crim. P.
16 advisory committee’s notes.
                                            III.   ARGUMENT
             A.      The content of the government’s expert notices is insufficient.

       With the government’s expert disclosure related to the aforementioned CBP witnesses,
the government attached each of their Curriculum Vitaes. In addition, there was a limited list of
virtually identical topics that Mr. Aprea and Mr. Matho, Jr. may or may not address at trial
including:
       --How CBP identifies shipments of counterfeit electronic products at its port of entries,
       when such contraband is seized, and why such contraband is seized.
       --About his participation in the Enforcement Division including strategies to prevent
       smuggling of counterfeit goods.
       --Provide a general explanation about when and why goods are detained; notices to
       importers, rights holders and brokers; the inventory, appraisal and seizure of the goods;
       and, transference and storage of seized property.
       Similarly, Mr. Geise’s expert disclosure contained a very short list of topics that he may
testify about including explaining:
       --The general process of a Fine, Penalties, and Forfeiture (“FPF”) dispute
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            --The outcome of FPF disputes, and
            --The final disposition of infringing property.
            What is absent, however, is any description regarding the opinions Mr. Aprea, Mr.
Matho, Jr. and/or Mr. Geise are actually expected to give. Further, the government’s Notice also
does not provide the basis or the reasons for any opinions. Therefore, according to Rule
16(a)(1)(G), the government’s Notice does not comply with the appropriate standard. See Duvall,
272 F.3d at 828 (finding the government violated Rule 16(a)(1)(G) where its notice “provided a
list of the general subject matters to be covered, but did not identify what opinion the expert
would offer on those subjects”).
            Unfortunately, yet consistent with the government’s “strategy” in this case thus far, the
government is again attempting to force the defendants to try to “guess” what the government
will be presenting in its case in chief. Instead of being up front and transparent, the government
is instead utilizing the method of “hiding the ball” which is inconsistent with a fair and just trial.
Without knowing the actual substance and opinions related to each of these experts’ testimony,
it is virtually impossible for each defendant to be prepared to address the issues that may arise
in trial.
            Accordingly, the government should not be allowed to call these CBP witnesses to testify
as expert witnesses because it has failed to give proper notice of their testimony. Counsel waited
to file this motion until after the second expert disclosure deadline as it was anticipated that the
government would supplement its expert notice. However, no reports or additional documents
related to these witnesses were disclosed to supplement its insufficient notice.
            C.     The named CBP witnesses’ testimony is not admissible under the rules
                   of evidence and/or a Daubert hearing is necessary.

            Expert testimony is controlled by Federal Rules of Evidence 702, which provides:
                   A witness who is qualified as an expert by knowledge, skill,
                   experience, training, or education may testify in the form of an
                   opinion or otherwise if:

                   (a)     the expert’s scientific, technical, or other specialized
                           knowledge will help the trier of fact to understand the
                           evidence or to determine a fact in issue;

                   (b)     the testimony is based on sufficient facts or data;

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               (c)     the testimony is the product of reliable principles and
                       methods; and

               (d)     the expert has reliably applied the principles and methods
                       to the facts of the case.

Fed. R. Evid. 702; see also Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
(1993) (explaining factors in determining an expert’s admissibility); Kumho Tire Co., Ltd. v.
Carmichael, 526 U.S. 137 (1999) (expanding Daubert to non-scientific expert testimony).
       When a party proposes expert testimony, the district court must make “a preliminary
assessment of whether the reasoning or methodology underlying the testimony is . . . valid and
of whether that reasoning or methodology properly can be applied to the facts in issue.” United
States v. Freeman, 498 F.3d 893, 901 (9th Cir. 2007). Because expert testimony is “likely to
carry special weight with the jury . . . care must be taken to assure that a proffered witness truly
qualifies as an expert.” Jinro America Inc. v. Secure Investments, Inc., 266 F.3d 993, 1004 (9th
Cir. 2001). In addition, expert testimony “should not invade[ ] the province of the jury.” United
States v. Rahm, 993 F.2d 1405, 1413 (9th Cir. 1993) (internal quotation marks omitted). Expert
testimony on areas within the average juror’s common understanding must not be admitted. Id.
       As explained, the government’s notice does not give even conclusory summaries of the
above mentioned CBP witnesses’ opinions, let alone the factual basis for any of these opinions.
The government thus has not shown such “expert” opinions are based on sufficient facts or data,
the product of reliable principles and methods, or that they have reliably applied the principles
and methods to the facts of the case. Furthermore, the listed CBP witnesses’ opinions will not
assist the jury. The jury will not need expert testimony to understand the topics the government
wishes to address with these witnesses.
       Finally, as discussed below, any probative value of said testimony, (specifically that of
Mr. Aprea and Mr. Matho, Jr.), is substantially outweighed by risk of unfair prejudice, confusion
of issues, and especially undue consumption of time.
       C.      Mr. Aprea’s and Mr. Matho, Jr.’s Testimony is Duplicative and
               Redundant According to the Government’s Disclosure.

       The Court must exclude expert testimony whose probative value is substantially
outweighed by risk of unfair prejudice, confusion of issues, or undue consumption of time.
United States v. Hankey, 203 F.3d 1160, 1168 (9th Cir. 2000); FRE 403.
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         As set forth above, the government’s vague descriptions of each of these alleged
“expert’s” testimony as listed in the Notice are nearly identical. Even if it is determined that the
subject matter set forth in the government’s Notices for Mr. Aprea’s and Mr. Matho, Jr.’s
Testimony is determined to be sufficient, the Court should, at the very least, restrict the
government and permit it to present testimony from only one of these redundant witnesses at
trial.
         Thus far, the government has been overly broad in its draft witness disclosures--listing
180+ witnesses that they intend to call in their case in chief. Not only has that number of
witnesses been overwhelming, unnecessary and nearly unmanageable, it appears, (as in the case
of listing Mr. Aprea and Mr. Matho, Jr.), to contain repetitive, redundant and duplicative
testimony. Further, although the government has indicated it will take “three weeks” to present
its case in chief, with this many witnesses and tens of thousands of pages of exhibits, the
estimation simply does not make sense.
         Mr. Aprea’s and Mr. Matho, Jr.’s testimony sets forth a perfect example of duplicative
evidence that will simply be duplicative, redundant and waste time as prohibited by FRE 403.
In its Notice, the government has not reasonably distinguished Mr. Aprea’s and Mr. Matho, Jr.’s
testimony or provide any reason why such similar testimony is needed from two (2) separate
witnesses. As the government has not seen fit to provide more information, at the very least, the
government should be precluded from calling both these witnesses at the trial of this matter for
the same purpose.

         D.     The government should be prohibited from calling Mr. Brian Geise as
                both an expert and lay witness.

         A jury views an expert with an “aura of special reliability and trustworthiness.” United
States v. Amaral, 488 F.2d 1148, 1152 (9th Cir. 1973). Allowing a government witness to testify
as both an expert and lay witness therefore presents many dangers to the defendant’s
constitutional rights to a fair trial. Freeman, 498 F.3d at 902.
         First, “by qualifying as an expert, the witness attains unmerited credibility when
testifying about factual matters from first-hand knowledge.” Freeman, 498 F.3d at 903 (internal
quotation marks omitted). “Second, it is possible that expert testimony by a fact witness or case
agent can inhibit cross-examination . . . [because a] failed effort to impeach the witness as expert
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may effectively enhance his credibility as a fact witness.” Id. (internal quotation marks omitted).
“Third, when the prosecution uses a case agent as an expert, there is an increased danger that the
expert testimony will stray from applying reliable methodology and convey to the jury the
witness’s sweeping conclusions about appellants’ activities, deviating from the strictures of
Rules 403 and 702.” Id. (internal quotation marks omitted). “Fourth, a case agent testifying as
an expert may lead to juror confusion because [s]ome jurors will find it difficult to discern
whether the witness is relying properly on his general experience and reliable methodology, or
improperly on what he has learned of the case.” Id. (internal quotation marks omitted). “Finally,
when a case agent/expert strays from the scope of his expertise, he may impermissibly rely upon
and convey hearsay evidence [and in] doing so, the witness may also run afoul of the Sixth
Amendment Confrontation Clause.” Id. (internal quotation marks omitted).
       When the government seeks to have a witness testify in both an expert and lay witness
capacity there inherently exists serious concerns with whether the expert can testify without
blurring the two roles. Freeman, 498 F.3d at 903. Furthermore, even if the expert could keep his
testimony separated between the two roles, the Court must determine whether the risk of
prejudice is nevertheless too high to warrant admission under Federal Rule of Evidence 403. See
United States v. Foster, 939 F.2d 445, 452 (7th Cir. 1991) (noting the risk for “undue prejudice”
when a government witness testifies as an expert and a lay witness).
       In this case, Mr. Giese was directly involved on a factual level as he participated in a
CBP seizure of one of the defendant’s packages as disclosed in discovery. Again, due to the lack
of information in the government’s Notice, it is not really clear what the government intends to
elicit from Mr. Giese in his proposed testimony. However, as a fact witness, Mr. Giese should
not be permitted to also testify as an “expert” to protect the defendants’ right to a fair trial. The
confusion to the jury is a very real concern because Mr. Giese is qualified as an “expert,” the
jury is likely to improperly put more emphasis on his factual testimony.
                                       IV.     Conclusion

       For the reasons given, Mr. Mikhail Iyerusalimets respectfully requests this Court exclude
Mr. Aprea’s, Mr. Matho, Jr.’s and Mr. Giese’s testimony from trial. Alternatively, if the Court
is inclined to allow any of these experts to testify, Mr. Iyerusalimets requests the Court hold a


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hearing outside the presence of the jury to address the substance of these witnesses’ testimony
to assess their qualifications and the reliability of each of their opinions under Daubert.
       DATED this 15th day of October, 2020.
                                                      Respectfully Submitted,
                                                      SMITH HORRAS, P.A.
                                                      Ellen N. Smith


                                                      By_/s/ Ellen Smith_________
                                                      Ellen N. Smith
                                                      Attorney for Defendant
                                                      MIKHAIL IYERUSALIMETS


                                CERTIFICATE OF SERVICE


         I hereby certify that on this 15th day of October, 2020, I filed the foregoing
 electronically through the CM/ECF system, which caused the parties or counsel to be served
 by electronic means, as more fully reflected on the Notice of Electronic Filing:

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